             Case 2:11-cr-00262-WBS Document 144 Filed 04/17/19 Page 1 of 2
PROB 35 (ED/CA)

                       Report and Order Terminating Supervised Release
                               Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                    FOR THE


                              EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                         )
                                                       )
                             v.                        )
                                                       )       Docket No.: 0972 2:11CR00262-004
                       Erik Solisfox                   )
                                                       )
                                                       )


On March 3, 2014, the above-named was sentenced to Supervised Release for a period of four
years. Supervision commenced on November 13, 2015.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that he be discharged from
supervision.


                                            Respectfully submitted,




                                               Sara E. Gnewikow
                                       Sr. United States Probation Officer


Dated:            April 16, 2019
                  Sacramento, California
                  SEG:cd




REVIEWED BY:                  Ronnie Preap
                                                           1
                                                                                                            Rev. 06/2015
                                                                              EARLY TERMINATION ~ ORDER (PROB35).DOTX
             Case 2:11-cr-00262-WBS Document 144 Filed 04/17/19 Page 2 of 2
PROB 35 (ED/CA)



Re:        Erik Solisfox
           Docket No: 0972 2:11CR00261-004-
           Report and Order Terminating Supervised Release
           Prior to Original Expiration Date


                          Supervising United States Probation Officer



                                       ORDER OF COURT

Pursuant to the above report, it is ordered that Eric Solisfox be discharged from Supervised
Release, and that the proceedings in the case be terminated.

Dated: April 16, 2019



Attachment:       Recommendation

cc:        AUSA – Jason Hitt
           FLU Unit – United States Attorney’s Office
           Fiscal Clerk - Clerk's Office
           Supervisee – Erik Solisfox




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                                                                                                      Rev. 06/2015
                                                                        EARLY TERMINATION ~ ORDER (PROB35).DOTX
